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11

12                                    UNITED STATES DISTRICT COURT
13                                 NORTHERN DISTRICT OF CALIFORNIA
14

15
                                                         )   Case No. 3:18-cv-04810-JCS
16
     TANSEER KAZI and LINDA SCHEID,                      )
                                                             CLASS ACTION
17   individually and on behalf of all those similarly   )
     situated,                                           )   [Hon. Mag. Judge Joseph C. Spero]
18                                                       )
            Plaintiffs,                                  )
19
                                                         )   SECOND AMENDED COMPLAINT FOR
            vs.
20                                                       )   VIOLATION OF CALIFORNIA LABOR
                                                         )   CODE, CALIFORNIA INDUSTRIAL
21   PNC BANK, N.A., and DOES 1-100 inclusive,           )   WELFARE COMMISSION ORDERS, AND
                                                         )   CALIFORNIA UNFAIR COMPETITION LAW
22         Defendants.                                   )
23                                                       )   DEMAND FOR JURY TRIAL
                                                         )
24                                                       )
                                                         )
25
                                                         )
26

27

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     SECOND AMENDED COMPLAINT - Case No. 3:18-cv-04810-JCS
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 1                                 Attachment to First Amended Complaint
 2                                          Kazi v. PNC Bank, N.A.
 3

 4   The names, addresses, and telephone numbers of Plaintiffs’ additional attorneys are:
 5
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 1          Plaintiffs TANZEER KAZI and LINDA SCHEID (Plaintiffs), on behalf of themselves and all
 2
     others similarly situated, demanding trial by jury, allege as follows:
 3
                                                     PARTIES
 4

 5          1.      Plaintiffs are informed and believe, and thereon allege, that defendant PNC BANK,
 6   N.A. (hereinafter "PNC") was and is a company in the business of banking, including specifically
 7   making residential mortgage loans, within the State of California.        Unless otherwise stated, all
 8   references herein are to PNC’s policies and practices within the State of California since four years
 9   before the filing of the original Complaint herein on June 28, 2018.
10          2.      Plaintiffs are adult individuals, competent to bring this action. Plaintiffs are citizens
11
     and residents of the State of California. The day after the original filing of this legal action, PNC
12
     terminated Plaintiff Tanseer Kazi’s employment in California as a Mortgage Loan Officer. At the
13
     filing of the First Amended Complaint, PNC employed Plaintiff Linda Scheid in California as a
14
     Mortgage Loan Officer, but subsequently terminated her. Plaintiffs, like other PNC Mortgage Loan
15
     Officers, have been responsible for originating and producing residential mortgage loans for potential
16
     borrowers from PNC, in accordance with PNC’s established policies and procedures.
17
            3.      PNC has wrongly failed to provide paid rest periods (as that term is defined in
18
     California Wage Order 4-2001, § 12) or in their absence pay added wages (hereinafter “premium
19
     wages”), failed timely to pay all accrued premium wages for missed rest periods on termination of
20
     employment, failed to provide properly itemized pay statements that reflect missed rest periods or
21
     premium wages owed in their absence, and failed to maintain proper time/pay records to or for
22
     Plaintiffs and other of its former and present employees whom it employed as Mortgage Loan Officers
23
     as California law requires and as alleged below in greater detail.
24
            4.      Plaintiffs are ignorant of the true names and/or capacities of the defendants sued herein
25
     as Does 1-100, inclusive, and therefore sue these defendants by such fictitious names. Plaintiffs will
26

27
     amend the complaint to allege their true names and capacities when ascertained. Plaintiffs are

28   informed and believe, and thereon allege, that each of the fictitiously named defendants is legally

                                                         -1-

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 1   responsible for the occurrences herein alleged and that plaintiffs’ losses and damages are the result of
 2   their wrongful conduct. PNC and Does 1-100 are hereinafter collectively referred to as “Defendants.”
 3

 4                           JURISDICTION AND VENUE

 5
             5.      Throughout the relevant period, PNC has conducted its business in this judicial district.
 6
     For example, PNC maintains an office at 5700 Stoneridge Mall Rd Suite 150, Pleasanton, CA 94588.
 7
     Also, within the last year preceding the filing of this legal action, Plaintiff Tanseer Kazi performed
 8
     services for PNC within the county of Alameda, California, for which days of work PNC was required
 9
     to provide a rest period but failed to do so and then did not pay a premium wage.
10
             6.      This case was originally filed in the Superior Court in and for the County of Alameda,
11
     California. Defendant PNC removed this case to the U.S. District Court for the Northern District of
12
     California, invoking to 28 U.S.C. §§ 1332(d), 1441, and 1446.
13

14
                             CLASS ACTION ALLEGATIONS
15

16           7.      Plaintiffs’ claims alleged herein are brought individually on behalf of the Plaintiffs and

17   in a representative capacity on behalf of similarly situated current and former Mortgage Loan Officers.
18   Plaintiffs assert violations of California law on behalf of themselves and all others similarly situated,
19   who are described as follows: all persons whom PNC employed in the State of California as a
20   Mortgage Loan Officer at any time since four years before the filing of this legal action until such time
21   as there is a final disposition of this lawsuit (hereinafter the “Class”).
22           8.      Plaintiffs, who seek to serve as representatives of the Class, are members of the Class.
23
     Like the other members of the Class, Plaintiffs suffered some form of injury of which complaint is
24
     herein alleged on behalf of the Class whom Plaintiffs seek to represent, including not having been
25
     provided paid rest periods required by their non-exempt employee status in violation of California
26
     law. This includes not having received properly itemized pay statements identifying missed rest
27
     periods and premium wages owed for missed rest periods in violation of California law, not having
28

                                                           -2-

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 1   been timely paid accrued final wages, not having been provided rest periods or paid premium pay in
 2   their absence, and not receiving pay for time worked which was not directly related to the work for
 3   which they are paid a piece-rate, in violation of California law. In addition, Plaintiffs are informed
 4   and believe, and thereon allege, that Defendants have not maintained pay/time records for Plaintiff and
 5   the Class in violation of California law.
 6          9.      Plaintiffs are unable to state the exact number of the Class. Plaintiffs are informed and
 7
     believe, and thereon allege, that the Class exceeds 100 persons and are geographically dispersed,
 8
     including across several counties in California. The members of the Class are so numerous as to make
 9
     joinder impracticable. Plaintiffs are informed and believe, and thereon allege, that Defendants have
10
     identified or can readily identify members of the Class, but that it is impractical, in light of their
11
     number and geographic diversity to bring them all before this Court as named plaintiffs.
12
            10.     The common questions of law or fact, which are of general interest, predominate over
13
     any questions affecting individual class members only, rendering a class action a superior to other
14
     available methods for the fair and efficient adjudication of the controversy. These questions are such
15
     that proof of a state of facts common to the members of the Class will entitle each member of the
16
     Class to some form of relief as requested in this Complaint. The questions of law or fact common to
17
     the Class, include, but are not limited to, the following examples:
18
                    a.      The rights that are the subject of this litigation are held in common by the Class'
19
            members, including Plaintiffs, arise under California law. The Class’ claims for violation of
20
            California Business & Professions Code §§ 17200, et seq. insofar as failure to provide rest
21

22
            periods or in their absence pay premium wages, failure to pay for time worked which is not

23
            directly related to the work for which they are paid a piece-rate, failure timely to pay final

24          accrued premium wages on termination of employment, failure to provide accurate and

25          complete itemized pay statements, and failure to maintain time/pay records rely on the

26          California Labor Code or Industrial Welfare Orders as predicate unlawful acts to support a

27          finding that Defendants have engaged and are engaging in unfair business practices.

28

                                                         -3-

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 1                  b.      Since at least four years before the filing of this legal action, Defendants have
 2          had a uniform policy and practice for Plaintiffs and the Class of not paying premium wages for
 3          missed rest periods, not separately paying for time not directly related to the piece-rate (“non-
 4          productive time”), not providing properly itemized pay statements that accurately reflect missed
 5          rest periods and premium wages for missed rest periods, not timely paying final accrued wages
 6          on termination of employment, and, according to Plaintiffs’ information and belief, not
 7
            maintaining records that accurately reflect hours worked and applicable hourly rates.
 8
                    c.      Since at least four years before the filing of this legal action, Defendants have
 9
            had a policy and a uniform practice of paying Plaintiffs and the Class on a commission basis.
10
            While nominally stating that Plaintiffs and the Class are entitled to minimal hourly
11
            compensation, Defendants recapture such hourly compensation as a credit against commissions
12
            earned in the same or other pay periods. Whether this common compensation practice satisfies
13
            the requirement under California law that rest periods be paid is a common question.
14
                    d.      During the relevant time, whether or not Defendants have acted in good faith so
15
            as to avoid penalties sought herein is a common question.
16
            11.     Plaintiffs will fairly and adequately protect the interests of the Class, whom Plaintiffs
17
     seek to represent. Plaintiffs’ legal counsel, who is competent and experienced in wage and hour class
18
     action litigation, will also fairly and adequately represent the Class.
19
            12.     The claims of the Plaintiffs are typical of the claims of the Class they would represent.
20
     Plaintiffs are not asserting any individual claims qualitatively different from the Class claims.
21

22
            13.     The prosecution of separate actions by individual Class members would create the risk

23
     of inconsistent or varying adjudications of California law in different courts with respect to individual

24   Class members, which could establish incompatible standards of conduct for Defendants.

25          14.     Plaintiffs are informed and believe, and thereon allege, that Defendants, in refusing to

26   pay and provide or pay employee benefits as herein alleged to or for the members of the Class,

27   including Plaintiffs, have acted and refused to act on grounds generally applicable to all claims,

28   thereby making appropriate injunctive and monetary relief for all members of the Class.
                                                          -4-

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 1          15.     Wherefore, a well-defined community of interest exists among the members of the
 2   Class, including Plaintiffs.
                                          FACTUAL ALLEGATIONS
 3

 4                                               Summary

 5
            16.     Except where otherwise alleged, the following circumstances have existed since at least
 6
     four years before the filing of this legal action and apply to the members of the Class, including
 7
     Plaintiffs. PNC has paid the Class Members on the basis of commissions earned for loans made.
 8
     PNC nominally also has stated that the Class Members have been entitled to hourly pay in the event
 9
     that the commissions did not rise to a specified level. However, any such hourly payments to Class
10
     Members have been subject to having been credited against commissions earned and thereby
11
     recaptured by Defendants. Consequently, Defendants have not paid the Class Members separate
12
     compensation as required for commission employees under California law. Defendants therefore have
13

14
     not provided the Class Members with rest periods that have been compliant with California law that at

15
     all relevant times has required that rest periods be separately compensated for piece rate employees.

16   Additionally, Defendants’ pay structure fails to pay for non-productive time such as: training sessions,

17   webinars, meetings, including weekly staff meetings, driving, booting up a work computer, logging

18   into Defendant’s computer system, installing software and security updates on work computers,

19   logging into Defendant’s network, performing security opening procedures at a branch, and similar

20   duties where Class Members are not selling loan products.
21          17.     With notice to Defendants, Plaintiffs and the Class regularly have worked sufficient
22   hours to trigger Defendants’ obligation to provide a compliant rest period. Defendants have not
23   provided compliant rest periods as required by California IWC Wage Order No. 4-2001 and California
24   Labor Code §226.7 by failing to provide Plaintiffs and the Class paid ten (10) minute uninterrupted
25   rest periods as set forth under California law for daily work periods in excess of 3.5 hours, nor paid
26   premium wages in the absence of such required, paid, uninterrupted daily rest periods.
27

28

                                                        -5-

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 1           18.    The itemized pay statements that Defendants have provided to Plaintiffs and the Class
 2   Members have not identified missed rest periods and have not identified all premium wages to which
 3   Plaintiffs and the Class have been entitled.
 4           19.    Plaintiffs are informed and believe, and thereon allege, that Defendants’ time and pay
 5   records are similarly inaccurate and do not accurately record missed rest periods and premium wages
 6   owed.
 7
             20.    Class members who have terminated their employment have not been paid accrued
 8
     wages represented by the premium wages owed for missed rest periods in a timely manner.
 9
             21.    Defendants’ failure to provide rest periods and in their absence to have paid premium
10
     wages has not been the result of clerical error or inadvertence but the result of a deliberate decision to
11
     adopt the above-described compensation model.
12

13
          FIRST CLAIM BY PLAINTIFFS ON BEHALF OF THEMSELVES AND THE CLASS
14   AGAINST ALL DEFENDANTS FOR VIOLATION OF CALIFORNIA LABOR CODE AND
     CALIFORNIA INDUSTRIAL COMMISSION WAGE ORDERS –REST PERIODS
15                                    (Class Claim)
16
             22.    Plaintiffs hereby incorporate by reference as though fully set forth at length herein all
17
     prior Paragraphs of this Complaint.
18
             23.    As hereinabove alleged, Defendants willfully failed to provide paid rest periods or pay
19
     premium wages in lieu thereof as required by California Labor Code § 226.7, Wage Order 4-2001, §
20
     12, and comparable paragraphs in any other applicable Wage Order. Defendants therefore breached
21

22
     their duties to Plaintiffs, and other members of the Class who have performed services since three

23
     years before the filing of this legal action, under the California Labor Code and California Industrial

24   Welfare Commission Wage Order 4-2001 or any other applicable Wage Order.

25           24.    Defendants willfully failed to pay all termination wages, including accrued added

26   wages for missed rest periods and wages for failing to pay for non-productive time, within the time

27   limits set forth for the payment of termination wages under California Labor Code §§201-203.

28   Defendants therefore breached their duties to the members of the Class who terminated their
                                                         -6-

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 1   employment with PNC since three years before the filing of this legal action, under the California
 2   Labor Code. Plaintiffs request that Defendants be required to pay the members of the Class who have
 3   terminated their employment with PNC at any time since three years before the filing of this legal
 4   action, waiting time penalties under California Labor Code § 203.
 5          25.     Plaintiffs request that Defendants be required to pay to them and other members of the
 6   Class who performed services in California for PNC at any time since three years before the filing of
 7
     this legal action premium wages for missed rest periods, and any applicable statutory penalties.
 8
     Plaintiffs further request that any unpaid residue be ordered paid “to nonprofit organizations or
 9
     foundations to support projects that will benefit the Class or similarly situated persons, or that promote
10
     the law consistent with the objectives and purposes of the underlying cause of action, to child advocacy
11
     programs, or to nonprofit organizations providing civil legal services to the indigent…” as provided
12
     under California Code of Civil Procedure § 384(b).
13
            26. In pursuing the claims alleged herein, including their investigation and litigation, Plaintiffs
14
     have incurred or will incur attorneys' fees (and paralegal fees) and costs for which Plaintiffs seek
15
     reimbursement from Defendants. These costs include, but are not limited to, filing fees, deposition
16
     charges, service of process fees, photocopying, telephone charges, fax charges, postage charges,
17
     travel/transportation expenses, messenger and other delivery charges, expert/consultant expenses,
18
     expenses associated with the preparation of evidence for presentation at trial, and other charges
19
     customary to the conduct of litigation. An award of such fees and costs is appropriate because the
20
     prosecution of this action will result in in the enforcement of an important right affecting the public
21

22
     interest as (a) a significant benefit, whether pecuniary or non-pecuniary, will be conferred on the

23
     general public or a large class of persons, (b) the necessity and financial burden of private enforcement

24   are such as to make the award appropriate, and (c) such fees should not in the interest of justice be paid

25   out of the recovery.

26          Wherefore, Plaintiffs pray for a judgment and a decree as hereinafter set forth.

27

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 1      SECOND CLAIM BY PLAINTIFFS ON BEHALF OF THEMSELVES AND THE CLASS
       AGAINST ALL DEFENDANTS FOR VIOLATION OF CALIFORNIA LABOR CODE AND
 2
      CALIFORNIA INDUSTRIAL COMMISSION WAGE ORDERS – UNPAID NON-PRODUCTIVE
 3                                      TIME
                                    (Class Claim)
 4
           27.      Plaintiffs hereby incorporate by reference as though fully set forth at length herein all
 5
     prior Paragraphs of this Complaint.
 6
           28.      Defendants willfully failed to pay Plaintiffs and Class Members for non-productive
 7
     time. Specifically, the pay system implemented by Defendants does not provide separate hourly pay
 8
     for non-productive time, including time spent engaging in training sessions, weekly meetings, and
 9
     driving. Defendants therefore breached their duties to Plaintiffs, and other members of the Class who
10
     have performed services since three years before the filing of this legal action, under the California
11
     Labor Code and California Industrial Welfare Commission Wage Order 4-2001 or any other
12
     applicable Wage Order.
13
           29.     As hereinabove alleged, Defendants willfully failed to pay to Plaintiffs, and other
14

15
     members of the Class, accrued wages (whether calculated based on the statutory minimum wage rate

16
     or regular rate of pay) pay as required under the California Labor Code, including Labor Code §§ 221,

17   223, 226.2, and 1194, and paragraph 4 of California Industrial Welfare Commission Wage Order 4-

18   2001 [8 CCR § 11040 (2001)], or any other applicable Wage Order. Defendants therefore breached

19   their duties to Plaintiffs, and other members of the Class who have performed services since three

20   years before the filing of this legal action, under the California Labor Code and California Industrial
21   Welfare Commission Wage Order 9-2001 or any other applicable Wage Order.
22        30.      Defendants willfully failed to pay all termination wages, including for non-productive
23   work time, within the 30 day time limit set forth for the payment of termination wages under California
24   Labor Code §§201-203. Defendants therefore breached their duties to the members of the Class who
25   terminated their employment with Defendants since three years before the filing of this legal action,
26   under the California Labor Code. Plaintiffs request that Defendants be required to pay the members of
27
     the Class who have terminated their employment with Defendants at any time since three years before
28
     the filing of this legal action waiting time penalties under California Labor Code §§201-203.
                                                           -8-

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 1          31.    Plaintiffs request that Defendants be required to pay to them, and other members of the
 2   Class who performed services for Defendants at any time since three years before the filing of this legal
 3   action, wages (calculated at the greater of the statutory minimum wage rate or regular rate of pay) and
 4   any applicable statutory penalties as provided under the California Labor Code or California Industrial
 5   Welfare Commission Wage Order(s), including under California Labor Code § 1194.2 and paragraph
 6   20 of California Industrial Welfare Commission Wage Order 4-2001. Plaintiffs further requests that
 7
     any unpaid residue be ordered paid “to nonprofit organizations or foundations to support projects that
 8
     will benefit the Class or similarly situated persons, or that promote the law consistent with the
 9
     objectives and purposes of the underlying cause of action, to child advocacy programs, or to nonprofit
10
     organizations providing civil legal services to the indigent…” as provided under California Code of
11
     Civil Procedure § 384(b).
12
            32.    In pursuing the claims alleged herein, including their investigation and litigation,
13
     Plaintiffs have incurred and will incur attorneys' fees (and paralegal fees) and costs for which they seek
14
     reimbursement. These costs include, but are not limited to, filing fees, deposition charges, service of
15
     process fees, photocopying, telephone charges, fax charges, postage charges, travel/transportation
16
     expenses, messenger and other delivery charges, expert/consultant expenses, expenses associated with
17
     the preparation of evidence for presentation at trial, and other charges customary to the conduct of
18
     litigation.
19
             Wherefore, Plaintiffs pray for a judgment and a decree as hereinafter set forth.
20

21
      THIRD CLAIM BY PLAINTIFFS ON BEHALF OF THEMSELVES AND THE CLASS AGAINST
22     ALL DEFENDANTS FOR VIOLATION OF CALIFORNIA LABOR CODE AND CALIFORNIA
         INDUSTRIAL COMMISSION WAGE ORDERS – ITEMIZED PAY STATEMENTS AND
23                                TIME/PAY RECORDS
24
                                      (Class Claim)

25
             33.   Plaintiffs hereby incorporate by reference as though fully set forth at length herein all
26
     prior Paragraphs of this Complaint.
27

28

                                                         -9-

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 1          34.    As hereinabove alleged, Defendants willfully failed to provide itemized pay statements
 2   to Class Members as required by California Labor Code § 226 and paragraph 7 of California Industrial
 3   Welfare Commission Wage Order 4-2001 [8 CCR § 11090 (2001)], or any other applicable Wage
 4   Order. Defendants also failed to maintain wage time records as required by California Labor Code §
 5   226 and paragraph 7 of California Industrial Welfare Commission Wage Order 4-2001 [8 CCR §
 6   11090 (2001)], or any other applicable Wage Order. The itemized pay statements that Plaintiffs and
 7
     the Class received have been inaccurate, including because they have not accurately identified missed
 8
     rest periods and premium wages owed at applicable hourly rates. Defendants therefore breached their
 9
     duties to Plaintiffs, and other members of the Class who have performed services in California since
10
     one year before the filing of this legal action under the California Labor Code and California Industrial
11
     Welfare Commission Wage Order 4-2001 or any other applicable Wage Order.
12
            35.     Plaintiffs request that Defendants be required to pay to Plaintiffs, and other members of
13
     the Class who performed services in California for PNC at any time since one year before the filing of
14
     this legal action damages or statutory penalties as provided under California Labor Code, including §
15
     226. Plaintiffs further request that any unpaid residue be ordered paid “to nonprofit organizations or
16
     foundations to support projects that will benefit the Class or similarly situated persons, or that promote
17
     the law consistent with the objectives and purposes of the underlying cause of action, to child
18
     advocacy programs, or to nonprofit organizations providing civil legal services to the indigent…” as
19
     provided under California Code of Civil Procedure § 384(b).
20
            36.    In pursuing the claims alleged herein, including their investigation and litigation,
21

22
     Plaintiffs have incurred or will incur attorneys' fees (and paralegal fees) and costs for which Plaintiffs

23
     seek reimbursement. These costs include, but are not limited to, filing fees, deposition charges,

24   service of process fees, photocopying, telephone charges, fax charges, postage charges,

25   travel/transportation expenses, messenger and other delivery charges, expert/consultant expenses,

26   expenses associated with the preparation of evidence for presentation at trial, and other charges

27   customary to the conduct of litigation.

28                Wherefore, Plaintiffs pray for a judgment and a decree as hereinafter set forth.
                                                         -10-

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 1      FOURTH CLAIM BY PLAINTIFFS ON BEHALF OF THEMSELVES AND THE CLASS
      AGAINST ALL DEFENDANTS FOR VIOLATION OF CALIFORNIA UNFAIR COMPETITION
 2
                                        LAW
 3                                  (Class Claim)

 4
           37.    Plaintiffs hereby incorporate by reference as though fully set forth at length herein all
 5
     prior paragraphs of this Complaint.
 6
           38.    As hereinabove alleged, Defendants, in the course of PNC’s business, have committed
 7
     acts and engaged in a practice of unfair competition, as defined by California Business & Professions
 8
     Code §17200, including the following: a) not providing rest breaks and in their absence paying
 9
     required premium wages as California Labor Code §§ 226.7, California Wage Order 4-2001, ¶ 12,
10
     and comparable provisions within any other applicable Wage Order require, b) not paying wages for
11
     non-productive, c) not providing itemized pay statements as California Labor Code § 226, California
12
     Wage Order 4-2001, ¶ 7, and comparable provisions within any other applicable Wage Order require,
13
     d) not timely paying accrued premium wages and wages due for non-productive time on termination
14

15
     of employment as California Labor Code §§ 201-203 require, and e) not maintaining time/pay

16
     records as California Labor Code § 226, California Wage Order 4-2001, ¶ 7, and comparable

17   provisions within any other applicable Wage Order require.

18         39.     Defendants’ unlawful business acts and practices present a continuing threat. Plaintiffs

19   and other Class Members do not have an adequate remedy at law. Wherefore, Plaintiffs request that

20   Defendants be enjoined from said violations and be ordered to take such steps as are proper to redress
21   the unlawful conduct that has occurred to date, including the failure to provide legally compliant rest
22   periods, failure to pay legally required premium wages, failure to provide properly itemized pay
23   statements, and failure to maintain proper employee pay/time records, all as hereinabove alleged.
24        40.     As a direct and proximate result of the above-described misconduct, Defendants have
25   received and continue to hold ill-gotten gains belonging to others as described above, including
26   Plaintiffs. Plaintiffs therefore request that Defendants be ordered to make restitution and
27
     disgorgement of all said ill-gotten gains as part of a fluid fund recovery to be distributed in
28
     accordance with the Court’s equitable discretion, including consideration that unpaid residue be paid
                                                      -11-

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 1   “to nonprofit organizations or foundations to support projects that will benefit the Class or similarly
 2   situated persons, or that promote the law consistent with the objectives and purposes of the
 3   underlying cause of action, to child advocacy programs, or to nonprofit organizations providing civil
 4   legal services to the indigent…” as provided under California Code of Civil Procedure § 384(b).
 5         41.    Plaintiffs request reasonable attorney’s fees under California Code of Civil Procedure
 6   §1021.5.
 7        Wherefore, Plaintiffs pray for a decree and judgment as hereinafter set forth.

 8   FIFTH CLAIM BY PLAINTIFFS AGAINST ALL DEFENDANTS FOR VIOLATION OF LABOR
        CODE PRIVATE ATTORNEYS GENERAL ACT OF 2004, CALIFORNIA LABOR CODE
 9
                                      §§2698, et seq.
10                            (non-class, representative claim)

11
           42.    Plaintiffs hereby incorporate by reference as though fully set forth at length herein all
12
     prior paragraphs of this Complaint.
13
           43.     Plaintiffs, as aggrieved employees, bring this claim under the Labor Code Private
14
     Attorneys General Act of 2004, California Labor Code § 2698, et seq. (PAGA), for themselves and
15
     on behalf of all other Mortgage Loan Officers whom PNC employed in California at any time for
16
     which recovery is authorized under PAGA through the trial of this matter. Recovery under this cause
17
     of action is sought only insofar as not obtained under any of the preceding claims.
18
          44.     As herein alleged, Defendants have violated the provisions of the California Labor
19
     Code, including in failing to provide duty free rest periods or in their absence pay added wages,
20
     failing to pay minimum wages, failing to pay wages owed in a timely manner, failing to provide
21

22
     itemized pay statements, and failing to keep time/payroll records. Plaintiffs for themselves and on

23
     behalf of all other Mortgage Loan Officers employed in California by PNC at any time for which

24   recovery is authorized under PAGA through the trial of this matter seek recovery of unpaid wages

25   resulting from said violations.

26          45.    Pursuant to California Labor Code §2699, Plaintiffs also seek recovery of all penalties

27   for Defendants’ above-described violations of the California Labor Code, except insofar as recovered

28   under a preceding claim. Such penalties for which Plaintiffs now seek recovery include, but are not
                                                       -12-

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 1   limited to, those based upon the violation of or as provided under California Labor Code §§ 201-203,
 2   204/204b, 210, 216, 225.5, 226, 226.2, 226.3, 226.7, 558, 1174, 1174.5, 1194, 1194.2, 1197, 1197.1,
 3   1198 (incorporating Wage Order § 4-2001, § 12 and comparable sections in any other applicable
 4   Wage Order), and 2698-99.
 5          46.     Plaintiffs request an award of attorneys’ fees, costs, and expenses, including as
 6   authorized under Labor Code §2699. Plaintiffs further request appropriate injunctive relief to stop
 7
     Defendants’ ongoing illegal conduct.
 8
            47.     To the extent required by California Labor Code § 2699.3, Plaintiff Tanseer Kazi, for
 9
     himself and on behalf of Mortgage Loan Officers whom PNC employed in California, by letter
10
     properly submitted on July 2, 2018 to the California Labor and Workforce Development Agency and
11
     sent that day by certified mail to PNC, provided notice of Plaintiff’s intention to prosecute the claims
12
     herein alleged. The California Labor and Workforce Development Agency has not responded.
13
     Consequently, Plaintiff may seek recovery of the civil penalties sought in this claim.
14
                    Wherefore, Plaintiffs pray for a decree and judgment as follows.
15

16
                                             PRAYER FOR RELIEF
17
            WHEREFORE, Plaintiffs seek relief from this Court in the following respects:
18

19
            1. The Court declares, adjudges and decrees that this action is a proper class action and certify

20   the Class under California Code of Civil Procedure § 382.

21          2. The Court declares, adjudges and decrees that: a) Defendants violated the California Labor
22
     Code and California Industrial Welfare Commission Wage Orders in failing to provide rest periods or
23
     in their absence pay premium wages as required by Labor Code § 226.7 and applicable Wage Order(s)
24
     and failing timely to pay accrued wages to Class members on termination of employment to or for the
25

26   Class members who performed services in California for PNC at any time since three years before the

27   filing of this lawsuit, b) Defendants violated the California Labor Code and the California Industrial
28
     Welfare Commission Wage Orders in failing to provide compensation for non-productive work time; c)
                                                    -13-

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 1   Defendants violated the California Labor Code and California Industrial Welfare Commission Wage
 2
     Orders in failing to provide itemized pay statements as required under California Labor Code §226 and
 3
     applicable Wage Order(s) and failing to maintain time/pay records as required under California Labor
 4
     Code § 226 and applicable Wage Order(s), to or for the Class members who performed services in
 5

 6   California for PNC at any time since one year before the filing of this lawsuit, d) Class members are

 7   entitled to an award for the unpaid premium wages for absence of paid, compliant rest periods,
 8
     compensation for unpaid non-productive hours, waiting time penalties, penalties for absence of
 9
     properly itemized wage statements/record maintenance, and any other applicable statutory penalties;
10
     and e) equitable distribution of the unpaid residue of any recovery pursuant to CCP § 384.
11

12
            3. The Court declares, adjudges and decrees that: a) Defendants violated the California Unfair

13   Business Practices Act/Unfair Competition Law, California Business & Professions Code §§ 17200, et
14   seq., by engaging in unlawful conduct, including in failing to provide rest periods or in their absence
15
     pay premium wages as required by Labor Code § 226.7 and applicable Wage Order(s), failing to
16
     provide itemized pay statements as required under California Labor Code §226 and applicable Wage
17

18
     Order(s), failing to pay wages for non-productive time, failing timely to pay accrued premium wages to

19   Class members on termination of employment, and failing to maintain time/pay records as required

20   under California Labor Code § 226 and applicable Wage Order(s), to or for the Class members who
21
     performed services in California for PNC at any time since four years before the filing of this lawsuit;
22
     b) Defendants should be ordered to make restitution and disgorgement of all ill-gotten gains, including
23
     unpaid premium wages for missed rest periods, into a fluid recovery fund; and c) injunctive relief
24

25   prohibiting future violations of the rights of the Class members to unpaid wages.

26          4. Damages, penalties, restitution, and disgorgement of ill-gotten gains under PAGA,
27
     California Labor Code § 2698, et seq.
28

                                                        -14-

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 1          5. The Court decrees such other injunctive relief and/or enters such other orders as are necessary
 2
     to dissipate or relieve the effects of the aforesaid violations and illegal acts by Defendants.
 3
            6. Reasonable attorneys fees and costs/expenses, both statutory and non-statutory.
 4
            7. Pre-judgment and post-judgment interest as provided by law.
 5

 6          8. Such other relief as the Court deems just and proper.

 7   Dated: March 6, 2019                           FRANK, WEINBERG & BLACK, P.L
 8                                                  ROBERT D. SOLOFF, P.A.

 9                                                  SWARTZ SWIDLER, LLC
                                                    LAW OFFICES OF JAMES M. SITKIN
10

11
                                                    By: _/s/James M. Sitkin_______________
12
                                                    James M. Sitkin
13                                                  Attorney for Plaintiffs

14

15
            Plaintiffs hereby demands trial by jury.
16
     Dated: March 6, 2019                           FRANK, WEINBERG & BLACK, P.L
17
                                                    ROBERT D. SOLOFF, P.A.
18
                                                    SWARTZ SWIDLER, LLC
19
                                                    LAW OFFICES OF JAMES M. SITKIN
20

21                                                  By: _/s/James M. Sitkin_________________
22                                                  James M. Sitkin
                                                    Attorney for Plaintiff
23
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24

25   //

26   //
27

28

                                                         -15-

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